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1    Call Date:       2019-03-04

2    Call Duration: 5:24

3    Call Begin [] Call End []

4    Call Participants:

5         Rick Singer

6         Laurie (sp?)

7    File Name:               8802 2019-03-04 21-33-58 16410-001.wav

8    Bates No.:


9    SINGER:    [00:00] Laurie (sp?).

10   LAURIE:    Hi, Rick, I’m sorry to bother you.        I know Moss

11        (sp?) talked to you.      But --

12   SINGER:    No problem.

13   LAURIE:    I just had (inaudible) I just had a question because

14        Moss didn’t recall this conversation.        Remember when you

15        called us and you said (inaudible) someone was going to

16        be calling us and -- but no one ever did?         What was

17        (inaudible) what was that all about?

18   SINGER:    Yeah, we were -- there was, uh, we had an audit of

19        our foundation.

20   LAURIE:    (inaudible) an audit, OK.

21   SINGER:    So we went through the audit.       The audit is done.

22        They haven’t gotten back to me as what’s -- if there’s

23        anything.     But yeah.   The reason why I was calling you
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1         because in case they called you, uh, you would be

2         prepared.    I didn’t want you just to all of a sudden get

3         a call from somebody from the IRS and be like, “Whoa,

4         what’s that all about?”

5    LAURIE:    Oh (inaudible).

6    SINGER:    So yeah, that was, uh, I called all our families.

7         Uh, because we were going through this audit.

8    LAURIE:    (inaudible) did that -- did that ever [01:00] wrap

9         up?   Is that -- is that -- is that done?

10   SINGER:    Yeah, we’re done.     We’ve been done, yeah.

11   LAURIE:    OK.   So why w-- in your best guess, Rick, why would

12        the government be subpoenaing the girls’ records?          And I

13        know it’s not just our girls.       But it’s both of our

14        girls.   And there’s some other girls (inaudible).

15   SINGER:    Uh, frankly, I have, uh, uh, I have no idea.         I mean

16        a lot of this could be governmental stuff.         You know,

17        there’s the Harvard lawsuit.       Uh, for discrimination.

18   LAURIE:    No, what -- what is -- OK.

19   SINGER:    So that’s been going on for 2 years.        The In-- the

20        Indians and the Asians are suing, uh, Harvard for

21        discrimination because they’re taking minority students

22        over them who are much more qualified.         So that’s been

23        going on for 2 years.      Uh.
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1    LAURIE:    But the Indians and the Asians are minorities.

2         They’re suing Harvard?

3    SINGER:    They’re considered in this process like white

4         people.

5    LAURIE:    OK.     So their -- their -- so their beef is Harvard

6         is [02:00] taking African Americans over them?

7    SINGER:    And Latinos that have 24s and 25s on their ACT and

8         they have 35s and 36s.

9    LAURIE:    Got it.     OK.

10   SINGER:    So they think they’re being discriminated against.

11   LAURIE:    So OK.     I just find it so odd that both of our girls

12        got subpoenaed.         Like I don’t -- their records got

13        subpoenaed.      I don’t -- I really don’t understand why

14        both of our girls.        Like are they looking at wealthy

15        families in California?        Like I’m -- I’m just so

16        confused.      And then I’m worried.     Like are they going to

17        try to take our girls out of USC?

18   SINGER:    Well, I think -- I think right now you’re way over

19        on the whatever, right- or left-hand side.         Because th--

20        I mean nothing’s -- I haven’t heard a single thing.              And

21        nobody’s even --

22   LAURIE:    Yeah.
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1    SINGER:      There’s no conjecture about any of this.        So, uh,

2         and they took the high school records which nothing was

3         fudged.     [03:00]

4    LAURIE:      I know that.      But are they going to (inaudible).

5    SINGER:      Right, so they got their test score, they got their

6         grades.     That’s all, uh, so -- so I couldn’t tell you.         I

7         really have no idea.         Because the records are c-- are

8         pure.     I mean nobody’s touched them.

9    LAURIE:      No, I -- no, I know that.      So is it -- I wonder if

10        it’s that guy at Marymount again that -- is he trying to

11        cause trouble?

12   SINGER:      Uh, I mean I have no idea.      Mean if I -- like I said

13        to Moss.        If I hear anything I’ll let you know.     But this

14        is the first I’ve heard of anything.

15   LAURIE:      Yeah.     OK.   Well, all right, I just wanted to -- I

16        was just curious what the, uh, the -- so that was an

17        audit for you.          I just couldn’t remember (inaudible).

18   SINGER:      Yeah.     We were -- our foundation was getting

19        audited.

20   LAURIE:      OK, OK, so are you -- so you’re just continuing as -

21        - as with business as usual, uh, at your foundation,

22        you’re just doing what you’re doing.

23   SINGER:      (inaudible) yeah, that’s -- we’re doing what we

24        [04:00] always do, yeah.         Absolutely.
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1    LAURIE:    OK, all right.     So -- so, uh.

2    SINGER:    So if you guys hear anything (inaudible).

3    LAURIE:    Yeah, no, no, I -- I had questions about SC.         I was

4         like, “Well, maybe the way they got in you’re not

5         supposed to get in like that, I don’t know, like can

6         you,” but Moss was like, “No, you can make a donation,

7         it’s OK, like I don’t know.”       Uh, yeah I don’t know.        But

8         it’s all on the up-and-up (inaudible) right?

9    SINGER:    (inaudible) yeah, I have no idea.        I mean, uh, I

10        have no idea because I don’t know why they would go after

11        the kids’ high school records.

12   LAURIE:    (inaudible).

13   SINGER:    Uh, and if they -- I mean because the transcript is

14        the s-- you know, transcript is right, the test scores

15        are right.

16   LAURIE:    Right.   OK.   All right, well, I -- I’m confused by

17        it.   And -- and you don’t think it has anything to do

18        with -- it’s [05:00] nothing at SC or how they got in or

19        anything or --

20   SINGER:    You know, uh, I would think that it would come from

21        SC if it was a problem.

22   LAURIE:    Yeah.    OK.   Yeah.   OK.

23   SINGER:    OK.
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1   LAURIE:    All right.     Well, I have a headache because I’ve

2        just been so confused.       OK.

3   SINGER:    (inaudible) sorry.

4   LAURIE:    All right.     Thanks, Rick.   OK, thank you.

5   SINGER:    Take care.     OK.   Good night.

6   LAURIE:    OK, thanks (inaudible) bye.

7   SINGER:    (inaudible).     [05:24]

8                             END OF AUDIO FILE
